Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 1 of 69 PageID #: 7




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X
NELLA REBELLO as Administrator of the Estate
                                         )
of ANDREA REBELLO, NELLA REBELLO,        )
individually, FERNANDO REBELLO and       )
JESSICA REBELLO,                         )
                                         )                    COMPLAINT
                           Plaintiff,    )
                                         )                    JURY TRIAL DEMANDED
      -against-                          )
                                         )
POLICE OFFICER NIKOLAS BUDIMLIC,         )
POLICE OFFICER NICHOLAS ZAHARIS,         )
COUNTY OF NASSAU, DETECTIVE MARTIN )
J. HELMKE, POLICE OFFICER JOSEPH         )
AVANZATO, POLICE OFFICER MICHAEL         )
LEONE, POLICE OFFICER MARLON             )
SANDERS, POLICE OFFICER JOSEPH           )
LOBELLO, POLICE OFFICER CHRISTOPHER )
ACQUILINO, POLICE OFFICER RAYMOND        )
BUTTACAVOLI, POLICE OFFICER DANIEL       )
HEALEY, POLICE OFFICER DENNIS            )
WUNSCH, POLICE OFFICER RONALD            )
RUSSO, POLICE OFFICER D. STELLER,        )
POLICE OFFICER THOMAS CURTAIN,           )
POLICE OFFICER JOHN TUCKER, POLICE       )
SERGEANT ROBERT COHEN, POLICE            )
SERGEANT RICHARD HERMAN, POLICE          )
OFFICER J. SCHOEPFER, POLICE OFFICER     )
E. JACOBSEN, POLICE OFFICER D.           )
MCGARRIGLE, THOMAS DALE, former          )
Commissioner of the Nassau County Police )
Department, DETECTIVE FREDERICK          )
GOLDMAN, DETECTIVE FRANK RUVULO,         )
DETECTIVE JAMES HENDRY, DETECTIVE        )
PAUL PICH, DETECTIVE MICHAEL             )
MALONEY, DETECTIVE BUFFALINO,            )
DETECTIVE SERGEANT AQUILINA, LT. JOHN )
AZZATA, CHIEF LORRAINE HANNON, Chief )
Of Support, DEPUTY INSPECTOR JOSEPH      )
                                   st
MAGRANE, Commanding Officer, 1 Precinct, )
DEPUTY INSPECTOR DANIEL FLANAGAN,        )
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 2 of 69 PageID #: 8




Commanding Officer, Police Academy,                           )
LIEUTENANT HARUN BEGIS, Commanding                            )
Officer, Firearms Training Unit, DETECTIVE                    )
SERGEANT STEPHEN FITZPATRICK,                                 )
Homicide Squad, JOHN DOE POLICE OFFICERS                      )
1-10; RICHARD ROE POLICE SUPERVISORS                          )
1-10; JOHN DOES; and RICHARD ROES,                            )
                                                              )
                                   Defendants.                )
----------------------------------------------------------X

                                       PRELIMINARY STATEMENT

        1.       This is a civil action in which the plaintiffs seek

relief for the defendants’ violation of their rights secured by

the Civil Rights Act of 1871, 42 U.S.C. § 1983, and by the United

States Constitution, including its Fourth and Fourteenth

Amendments.            The plaintiffs seek damages, both compensatory and

punitive, affirmative and equitable relief, an award of costs and

attorneys’ fees, and such other and further relief as this court

deems equitable and just.

                                               JURISDICTION

        2.       This action is brought pursuant to the Constitution of

the United States, including its Fourth and Fourteenth

Amendments, and pursuant to 42 U.S.C. § 1983.                     Jurisdiction is

conferred upon this court by 42 U.S.C. § 1983 and 28 U.S.C.

§§1331 and 1343(a)(3) and (4), this being an action seeking

redress for the violation of the plaintiffs’ constitutional and

civil rights.

                                                         2
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 3 of 69 PageID #: 9



                           JURY TRIAL DEMANDED

     4.    Plaintiffs demand a trial by jury on each and every one

of his claims as pleaded herein.

                                   VENUE

     5.    Venue is proper for the United States District Court

for the Eastern District of New York pursuant to 28 U.S.C. §1391

(a), (b) and (c).

                                  PARTIES

     6.    Plaintiffs were at all times relevant herein residents

of the State of New York, County of Westchester.

     7.    Defendant COUNTY OF NASSAU is and was at all times

relevant herein a municipal entity created and authorized under

the laws of the State of New York.         It is authorized by law to

maintain a police department, which acts as its agent in the area

of law enforcement and for which it is ultimately responsible.

Defendant COUNTY OF NASSAU (COUNTY) assumes the risks incidental

to the maintenance of a police force and the employment of police

officers as said risk attaches to the public consumers of the

services provided by the Nassau County Police Department.

     8.    At all times mentioned herein, defendant, Former Police

Commissioner, THOMAS DALE (DALE), was employed by defendant, COUNTY,

as the highest ranking police officer and Commissioner of the

Nassau County Police Department.

     9.    At all times mentioned herein, defendant, DALE, was acting

                                      3
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 4 of 69 PageID #: 10



within the scope of his employment        as the Commissioner of the

Nassau County Police Department.

      10.   At all times mentioned herein, defendant, DALE, was in his

official capacity acting under color of law and authority as a police

officer with the Nassau County Police Department.

      11.   At all times mentioned herein, defendant, DALE, as

Commissioner of the Nassau County Police Department, had supervisory

duties over all Nassau County Police officers, supervisors, Police

Communications Operators and Police Communications Operators Supervisors

as well as other police personnel.

      12.   At all times mentioned herein, defendant, DALE, was acting

in both his individual and his official capacities.

      13.   DALE is sued herein in both his individual and official

capacities.

      14.   Defendants POLICE OFFICER NIKOLAS BUDIMLIC, POLICE

OFFICER NICHOLAS ZAHARIS, DETECTIVE MARTIN J. HELMKE, JOHN DOE

NASSAU COUNTY, POLICE OFFICER JOSEPH AVANZATO, POLICE OFFICER

MICHAEL LEONE, POLICE OFFICER MARLON SANDERS, POLICE OFFICER

JOSEPH LOBELLO, POLICE OFFICER CHRISTOPHER ACQUILINO, POLICE

OFFICER RAYMOND BUTTACAVOLI, POLICE OFFICER DANIEL HEALEY, POLICE

OFFICER DENNIS WUNSCH, POLICE OFFICER RONALD RUSSO, POLICE

OFFICER D. STELLER, POLICE OFFICER THOMAS CURTAIN, POLICE OFFICER

JOHN TUCKER, POLICE SERGEANT ROBERT COHEN, POLICE SERGEANT

RICHARD HERMAN, POLICE OFFICER J. SCHOEPFER, POLICE OFFICER E.

                                      4
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 5 of 69 PageID #: 11



JACOBSEN, POLICE OFFICER D. MCGARRIGLE, DETECTIVE FREDERICK

GOLDMAN, DETECTIVE FRANK A RUVULO, DETECTIVE JAMES HENDRY,

DETECTIVE PAUL PICH, DETECTIVE MICHAEL MALONEY, DETECTIVE

BUFFALINO, DETECTIVE SERGENT AQUILINA, LT. JOHN AZZATA, CHIEF

LORRAINE A. HANNON, Chief Of Support, DEPUTY INSPECTOR JOSEPH

MAGRANE, Commanding Officer, 1st Precinct,          DEPUTY INSPECTOR

DANIEL FLANAGAN, Commanding Officer, Police Academy, LIEUTENANT

HARUN BEGIS, Commanding Officer, Firearms Training Unit,

DETECTIVE SERGEANT STEPHEN FITZPATRICK, Homicide Squad, JOHN DOE

POLICE OFFICERS 1-10, and JOHN DOES are and were at all times

relevant herein duly appointed and acting officers, servants,

employees and agents of the COUNTY OF NASSAU and/or the Nassau

County Police Department (NCPD), a municipal agency of defendant

COUNTY OF NASSAU.      Defendants POLICE OFFICER NIKOLAS BUDIMLIC,

POLICE OFFICER NICHOLAS ZAHARIS, DETECTIVE MARTIN J. HELMKE, JOHN

DOE NASSAU COUNTY, POLICE OFFICER JOSEPH AVANZATO, POLICE OFFICER

MICHAEL LEONE, POLICE OFFICER MARLON SANDERS, POLICE OFFICER

JOSEPH LOBELLO, POLICE OFFICER CHRISTOPHER ACQUILINO, POLICE

OFFICER RAYMOND BUTTACAVOLI, POLICE OFFICER DANIEL HEALEY, POLICE

OFFICER DENNIS WUNSCH, POLICE OFFICER RONALD RUSSO, POLICE

OFFICER D. STELLER, POLICE OFFICER THOMAS CURTAIN, POLICE OFFICER

JOHN TUCKER, POLICE SERGEANT ROBERT COHEN, POLICE SERGEANT

RICHARD HERMAN, POLICE OFFICER J. SCHOEPFER, POLICE OFFICER E.

JACOBSEN, POLICE OFFICER D. MCGARRIGLE, DETECTIVE FREDERICK

                                      5
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 6 of 69 PageID #: 12



GOLDMAN, DETECTIVE FRANK A RUVULO, DETECTIVE JAMES HENDRY,

DETECTIVE PAUL PICH, DETECTIVE MICHAEL MALONEY, DETECTIVE

BUFFALINO, DETECTIVE SERGENT AQUILINA, LT. JOHN AZZATA, CHIEF

LORRAINE A. HANNON, Chief Of Support, DEPUTY INSPECTOR JOSEPH

MAGRANE, Commanding Officer, 1st Precinct,          DEPUTY INSPECTOR

DANIEL FLANAGAN, Commanding Officer, Police Academy, LIEUTENANT

HARUN BEGIS, Commanding Officer, Firearms Training Unit,

DETECTIVE SERGEANT STEPHEN FITZPATRICK, Homicide Squad, JOHN DOE

POLICE OFFICERS 1-10, and JOHN DOES are and were at all times

relevant herein acting under color of state law in the course and

scope of their duties and functions as officers, agents,

servants, and employees of defendant COUNTY OF NASSAU, were

acting for, and on behalf of, and with the power and authority

vested in them by COUNTY OF NASSAU and the Nassau County Police

Department, and were otherwise performing and engaging in conduct

incidental to the performance of their lawful functions in the

course of their duties.       POLICE OFFICER NIKOLAS BUDIMLIC, POLICE

OFFICER NICHOLAS ZAHARIS, DETECTIVE MARTIN J. HELMKE, JOHN DOE

NASSAU COUNTY, POLICE OFFICER JOSEPH AVANZATO, POLICE OFFICER

MICHAEL LEONE, POLICE OFFICER MARLON SANDERS, POLICE OFFICER

JOSEPH LOBELLO, POLICE OFFICER CHRISTOPHER ACQUILINO, POLICE

OFFICER RAYMOND BUTTACAVOLI, POLICE OFFICER DANIEL HEALEY, POLICE

OFFICER DENNIS WUNSCH, POLICE OFFICER RONALD RUSSO, POLICE

OFFICER D. STELLER, POLICE OFFICER THOMAS CURTAIN, POLICE OFFICER

                                      6
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 7 of 69 PageID #: 13



JOHN TUCKER, POLICE SERGEANT ROBERT COHEN, POLICE SERGEANT

RICHARD HERMAN, POLICE OFFICER J. SCHOEPFER, POLICE OFFICER E.

JACOBSEN, POLICE OFFICER D. MCGARRIGLE, DETECTIVE FREDERICK

GOLDMAN, DETECTIVE FRANK A RUVULO, DETECTIVE JAMES HENDRY,

DETECTIVE PAUL PICH, DETECTIVE MICHAEL MALONEY, DETECTIVE

BUFFALINO, DETECTIVE SERGENT AQUILINA, LT. JOHN AZZATA, CHIEF

LORRAINE A. HANNON, Chief Of Support, DEPUTY INSPECTOR JOSEPH

MAGRANE, Commanding Officer, 1st Precinct,          DEPUTY INSPECTOR

DANIEL FLANAGAN, Commanding Officer, Police Academy, LIEUTENANT

HARUN BEGIS, Commanding Officer, Firearms Training Unit,

DETECTIVE SERGEANT STEPHEN FITZPATRICK, Homicide Squad, JOHN DOE

POLICE OFFICERS 1-10, and JOHN DOES are sued individually.

      15.   Defendants LT. JOHN AZZATA, POLICE SERGEANT ROBERT

COHEN, POLICE SERGEANT RICHARD HERMAN, DETECTIVE SERGENT

AQUILINA, CHIEF LORRAINE A. HANNON, Chief Of Support, DEPUTY

INSPECTOR JOSEPH MAGRANE, Commanding Officer, 1st Precinct,

DEPUTY INSPECTOR DANIEL FLANAGAN, Commanding Officer, Police

Academy, LIEUTENANT HARUN BEGIS, Commanding Officer, Firearms

Training Unit, DETECTIVE SERGEANT STEPHEN FITZPATRICK, Homicide

Squad, Former Commissioner THOMAS DALE, RICHARD ROES 1-10 and

RICHARD ROES are and were at all times relevant herein duly

appointed and acting supervisory officers, servants, employees

and agents of the COUNTY OF NASSAU and/or the Nassau County

Police Department, responsible for the training, retention,

                                      7
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 8 of 69 PageID #: 14



supervision, discipline and control of subordinate members of the

police department under their command.         Defendants LT. JOHN

AZZATA, POLICE SERGEANT ROBERT COHEN, POLICE SERGEANT RICHARD

HERMAN, DETECTIVE SERGENT AQUILINA, CHIEF LORRAINE A. HANNON,

Chief Of Support, DEPUTY INSPECTOR JOSEPH MAGRANE, Commanding

Officer, 1st Precinct, DEPUTY INSPECTOR DANIEL FLANAGAN,

Commanding Officer, Police Academy, LIEUTENANT HARUN BEGIS,

Commanding Officer, Firearms Training Unit, DETECTIVE SERGEANT

STEPHEN FITZPATRICK, Homicide Squad, Former Commissioner THOMAS

DALE, RICHARD ROES 1-10 and RICHARD ROES are and were at all

times relevant herein acting under color of state law in the

course and scope of their duties and functions as supervisory

officers, agents, servants, and employees of defendant COUNTY OF

NASSAU, were acting for, and on behalf of, and with the power and

authority vested in them by COUNTY OF NASSAU and the Nassau

County Police Department, and were otherwise performing and

engaging in conduct incidental to the performance of their lawful

functions in the course of their duties.          Defendants LT. JOHN

AZZATA, POLICE SERGEANT ROBERT COHEN, POLICE SERGEANT RICHARD

HERMAN, DETECTIVE SERGENT AQUILINA, CHIEF LORRAINE A. HANNON,

Chief Of Support, DEPUTY INSPECTOR JOSEPH MAGRANE, Commanding

Officer, 1st Precinct, DEPUTY INSPECTOR DANIEL FLANAGAN,

Commanding Officer, Police Academy, LIEUTENANT HARUN BEGIS,

Commanding Officer, Firearms Training Unit, DETECTIVE SERGEANT

                                      8
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 9 of 69 PageID #: 15



STEPHEN FITZPATRICK, Homicide Squad, Former Commissioner THOMAS

DALE, RICHARD ROES 1-10 and RICHARD ROES are sued individually.


                                           STATEMENT OF FACTS1


         16.      All of the facts stated herein are upon information and

belief, except as to those attributed to Jessica Rebello.

         17.      In 2004, the NYS 911 Board promulgated 21 NYCRR Part

5201, titled: Minimum Standards Regarding Call-Takers/Dispatchers

Training. These standards applied to the Police Communication

Officers (call-takers/dispatchers) employed by the County of

Nassau to answer telephone calls and/or dispatch emergency

services at the Public Safety answering point designated by

Nassau County.

         18.      Pursuant to 21 NYCRR Part 5201.4, the County of Nassau

was required as of January 1, 2004, to have all Police

Communication Officers (call-takers/dispatchers) receive a

minimum of 21 hours of in-service training per year.

         19.      In 2006, call-takers/dispatchers who were in a

supervisory position were also required to complete an in-service


1. The within complaint cites to various documents outside of the complaint, most of which were obtained from
defendant County as well as the Nassau County District Attorney’s Office via numerous Freedom of Information
Law (FOIL) responses, as well as documents obtained from the County and its Medical Examiner’s Office as a result
of pre-action motion practice. Additionally, articles and other complaints are referenced as well. Plaintiffs herein cite
to these documents for their existence and the access to same by some or all of the Defendants, but not for the
veracity or reliability of the conclusion contained therein. These documents are referenced as the source of certain
statements referenced herein, and claims that the County, its Police Department, and officers involved have made
regarding the facts herein or the knowledge that the Defendants herein had or should have had when conducting their
investigation. Upon information and belief much of this information is inaccurate, incomplete, self-serving, and
written to perpetrate a cover up of the true facts and to protect the County and its officer’s from liability.
                                                           9
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 10 of 69 PageID #: 16



 training program within a 12 month period from the date of

 appointment to a supervisory position. In 2010, the New York

 State Division of Homeland Security and Emergency Services

 replaced the New York 911 Board with the Office of Interoperable

 and Emergency Communications responsible to enforce the standards

 passed by the 911 Board.

       20.   The in-service training program for the call-

 takers/dispatchers and their supervisors included a focus on

 issues concerning how to handle emergency situations including

 hostage situations

       21.   In 2008 Nassau County was designated by the state

 Department of Homeland security and emergency services as a

 public safety answering point – an advance 911 center that can

 receive emergency calls from wireless phones.

       22.   To earn that designation and the millions in funding

 that goes with it the 911 operators must get a minimum of 21

 hours of in-service classroom training, including how to handle

 hostage situations.

       23.   The state allocated $3.4 million to Nassau County

 between 2008 and 2012 through the “local enhanced wireless 911

 program,” which reimburses County governments for communication

 costs relating to dispatch wireless 911 calls. A portion of these

 monies was to be slated for police communication operator

 training.

                                      10
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 11 of 69 PageID #: 17



       24.   Said monies were never provided for said training,

 however, and were used for purposes other than what was required

 by the department of Homeland Security.

       25.   The Police Communication Operators (call-

 takers/dispatchers) did not receive the required training through

 2010.   The union for the Police Communication Officers (call-

 takers/dispatchers) in 2010 notified the Nassau County Police

 Department (hereinafter “NCPD”) that there were in-service

 training requirements that the Police Communication Operators

 (call-takers/dispatchers) were not receiving.

       26.   In 2011 the union for the Police Communication

 Operators (call-takers/dispatchers) had meetings with the Nassau

 County Police Department and on August 15, 2011 the Nassau County

 Police Department finally issued a Command Notification 11-024,

 stating that all Police Communication Operators (call

 takers/dispatchers) would receive the mandatory in-service

 training starting on September 26, 2011.         At the time of this

 Command Notification, Thomas V. Dale was the Nassau County Police

 Commissioner.

       27.   On September 16, 2011 the Nassau County Police

 Department issued a subsequent Command Notification 11-027, which

 cancelled the previous Command Notification 11-024, which had

 scheduled the required in-service training. The memo contained no

 explanation for the cancellation.

                                      11
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 12 of 69 PageID #: 18



       28.   On May 3, 2013, just 2 weeks before ANDREA REBELLO was

 shot and killed, the Union for the Police Communication Operators

 (PCOs) made a further demand to Nassau County to comply with the

 mandated in-service training requirements.

       29.   In June of 2013 the police communications operators

 union filed a petition stating that they still had not received

 the mandatory training, which included training in hostage

 situations.

       30.   Then, in June 2014, the police communications operators

 union filed suit for the same relief.

       31.   The Police Communication Operators (call-

 takers/dispatchers) and their supervisors never received the

 mandated in-service training, which included training for hostage

 situations, between 2008 and the date of the shooting of ANDREA

 REBELLO on May 17, 2013.

       32.   Had the police communications operators been properly

 trained they would have been able to give better information to

 the Police Officers and Supervisors in the field who in turn

 would have implemented better and more appropriate procedures for

 addressing hostage situations.

       33.   Had the police communications operators been properly

 trained they would have pressed the standard operating procedure

 (SOP) button which would have provided them with more directions

 and information which would have enabled the PCOs to alert the

                                      12
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 13 of 69 PageID #: 19



 police officers and their supervisors that there was a hostage

 situation.

       34.   The police communication operators were not properly

 trained and therefore did not access or disseminate to the

 officers in the field, and the defendants herein, the standard

 operating procedure for hostage situations.

       35.   The 911 operators use a computer system which has a

 standard operating procedure button, that gives a drop down menu

 on their computer screen providing the 911 operators with

 information regarding procedures that should be followed for

 that particular call. The police communication operators were

 unable to identify and accurately access the applicable

 information so that they could provide specific information to

 the police officers.

       36.   Following the shooting, there were multiple articles

 published in the press, which cited to and quoted from

 unidentified police sources and from the police union president

 that stated that officer BUDIMLIC did not know he was going into

 a hostage situation when he went into the house where the

 shooting occurred.

       37.   The likely purpose of these leaks and statements to the

 press that the officer did not know it was a hostage situation

 was to deflect responsibility from officer BUDIMLIC, and instead

 to place it with the Police Communications Officers, and to
                                      13
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 14 of 69 PageID #: 20



 suggest that had officer BUDIMLIC known that it was a hostage

 situation he would not have run into the house, or would

 otherwise have acted in a different manner.

       38.   On May 17, 2013, Nassau County Police Communications

 Officer id number 458 (PCO) received an emergency call through

 the 911 emergency system. The call began at approximately

 02:25:45am from Shannon T (last name intentionally omitted), who

 stated within 5 seconds, “I have a guy in my house with a gun. He

 is holding my friends at gun point,” and seconds later when asked

 for the address Shannon clearly stated “213 California Avenue.

 But don’t go there.     He will shoot them.” Within the first 15

 seconds the PCO had enough information to establish that there

 was a hostage situation at her house located at 213 California

 Avenue, Uniondale, New York.

       39.   The call was categorized and put out over the air as a

 Robbery in Progress (ROBIP). The PCO then interviewed Shannon T,

 who confirmed the correct address, the location of the gunman in

 the house and that he was holding two girls and a guy in the

 upstairs bedroom to the right at gunpoint. Shannon T also gave

 the PCO a description of the man with the gun.          Shannon T

 answered all the PCO’s questions accurately.

       40.   At some point during the 911 call the PCO informed

 Shannon that the police are at the house and Shannon responded,

 “Make sure they don’t hurt them,” stating her concern that the

                                      14
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 15 of 69 PageID #: 21



 police should not hurt her friends. The PCO reassured Shannon

 stating, “They are not going to hurt them,” referring to the

 police officers not hurting the hostages.

       41.   The PCO operator had information that there was a

 hostage situation in the house prior to any information being

 relayed over radio to radio communications with the officers of

 the 1st Precinct. The call type notification was a ROBIP.           The

 call type was never changed to the designation for a hostage

 situation.    Along with the call type of ROBIP the Nassau County

 PCOs relayed information over the air to the Police Officers

 consistent with a hostage situation, informing that there were

 people upstairs with a man with a gun and eventually stating that

 there were hostages in the house.

       42.   The PCOs failure to inform police supervisors and

 police officers immediately that this was a hostage situation

 resulted in a breakdown in supervision of the officers at the

 scene by RICHARD ROES Police supervisors and a failure to

 immediately institute applicable NCPD police procedures,

 protocols, guidelines, Commissioner’s Procedure Orders and good

 and accepted practices in hostage situations, which led to the

 shooting death of ANDREA REBELLO by Police officer BUDIMLIC.

       43.   The hostages in the house were ANDREA REBELLO, JESSICA

 REBELLO and John Kourtessis.

       44.   The hostage taker was Dalton Smith(Smith).

                                      15
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 16 of 69 PageID #: 22



       45.   On May 17, 2013 in response to the radio call of a

 ROBIP at 213 California Avenue, Uniondale, New York (hereinafter

 “the scene”) JOHN DOES police officers from the 1st Precinct

 responded to the call and went to the scene.

       46.   The first police officers to arrive at the scene, on

 May 17, 2013 were police officers JOSEPH AVANZATO, NIKOLAS

 BUDIMLIC, MICHAEL LEONE and MARLON SANDERS, and other officers

 arrived at the scene shortly thereafter.

       47.   Police Officers JOSEPH LOBELLO, CHRISTOPHER ACQUILINO,

 RAYMOND BUTTACAVOLI, DANIEL HEALEY, NICHOLAS ZAHARIS, DENNIS

 WUNSCH, and RONALD RUSSO, also reported to the scene on May 17,

 2013 before 3:00 am.

       48.   On May 17, 2013, Police Officer D. STELLER reported to

 the scene before 3:00 am.

       49.   On May 17, 2013, Police Officer THOMAS CURTAIN reported

 to the scene before 3:00 am.

       50.   On May 17, 2013, Police Officer JOHN TUCKER reported to

 the scene before 3:00 am.

       51.   On May 17 2013, Police Sergeants ROBERT COHEN and

 RICHARD HERMAN reported to the scene before 3:00 am.

       52.   On May 17, 2013, Police Officer J. SCHOEPFER reported

 to the scene before 3:00 am.

       53.   On May 17, 2013, Police Officer E. JACOBSEN reported to

 the scene before 3:00 am.

                                      16
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 17 of 69 PageID #: 23



       54.   On May 17, 2013, Police Officer D. MCGARRIGLE reported

 to the scene before 3:00 am.

       55.   The house located at 213 California Avenue, Uniondale,

 New York was a small two story Cape.

       56.   When the first of the above-listed, or other JOHN DOES,

 officers arrived at the scene and approached the front door of

 the house, JESSICA REBELLO ran out of the house and yelled for

 help, informing the officers that there was a man with a gun and

 her sister still in the house.

       57.   After JESSICA REBELLO exited the house, there were many

 police officers at the scene, including those listed above, and

 more JOHN DOES were showing up. After JESSICA REBELLO exited the

 house, instead of debriefing her and getting information about

 the situation in the house as well as about the gunman, she was

 told by the officers to get back and was ignored until after

 shots were fired.

       58.   After JESSICA REBELLO left the house the front door

 remained open. Officers BUDIMLIC and SANDERS approached the open

 doorway as other JOHN DOES police officers took positions around

 the house.

       59.   BUDIMLIC observed Smith at the top of the stairs and

 heard him yelling that he had a gun prior to going into the

 house.



                                      17
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 18 of 69 PageID #: 24



       60.   BUDIMLIC failed to speak to JESSICA REBELLO or obtain

 any information about what was occurring in the house, how many

 people were in the house, how many hostages, how many hostage

 takers, how many men with guns or attempt any dialogue with

 JESSICA REBELLO before going into the house.

       61.   Officer BUDIMLIC then went into the house and took up a

 position under the staircase leading upstairs, out of direct view

 from anyone upstairs who may look down.

       62.   Before BUDIMLIC entered the house, the PCOs informed

 all police officers over the air that there were hostages in the

 house.

       63.   Before BUDIMLIC went into the house, he transmitted a

 radio call over the air to Headquarters and to other officers on

 the air, that there was man with a gun and there were hostages.

       64.   After BUDIMLIC went into the house, he transmitted a

 radio call over the air to Headquarters and to other officers on

 the air, that there was man with a gun and there were hostages.

       65.   After BUDIMLIC went into the house, and while the

 doorway was still open, no other police officers entered the

 house before shots were fired.

       66.   While the doorway was open and BUDIMLIC was in the

 house, other JOHN DOES officers including SANDERS, AVANZATO and

 LEONE saw a man with a gun at the top of the stairs. The man with

 the gun was later identified as Dalton Smith.

                                      18
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 19 of 69 PageID #: 25



       67.   SANDERS and AVANZATO were yelling back and forth with

 Smith telling him to drop the gun and Smith was responding and

 yelling back that they should drop their guns.

       68.   SANDERS transmitted over the air that there were

 hostages in the house before shots were fired.

       68.   BUDIMLIC transmitted over the air that there were

 hostages in the house before shots were fired.

       69.   At all times when Smith was upstairs after police

 officers arrived at the scene and had taken up positions outside

 the house, other than yelling at Smith to drop his weapon and

 essentially yelling for him to surrender, no other negotiations

 took place. No hostage negotiations were ever attempted with

 Smith.

       70.   No members of the NCPD who were specially trained in

 hostage negotiations were ever dispatched to the location to

 attempt to negotiate with Smith, despite the knowledge that a

 hostage situation was afoot.

       71.   While Smith was upstairs and the doorway was open and

 Smith was yelling at the officers to put down their guns and

 leave, SANDERS considered taking a shot at him but when SANDERS

 saw the hostages in close proximity to Smith, he realized he

 could not safely take the shot.

       72.   Smith had the male hostage, John Kourtessis, crawl to

 the top of the steps and put his hands one step down from the top

                                      19
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 20 of 69 PageID #: 26



 where the police officers could see them. Smith ordered

 Kourtessis to yell to the police officers to leave the area.

       73.   Smith made sure that Kourtessis’s hands were visible to

 the police at that time so that the police would not shoot

 Kourtessis.

       74.   At some point Smith asked Kourtessis to show him the

 way out the back door of the house so Smith could escape.

 Kourtessis began to lead Smith towards the back by crawling down

 the steps in a controlled manner. Smith followed Kourtessis down

 the stairs holding ANDREA REBELLO in front of him as a human

 shield. As Smith, ANDREA REBELLO and Kourtessis got to the bottom

 of the steps leading to the first floor, the front door closed.

       75.   Prior to the front door closing BUDIMLIC had already

 entered the house. When the front door to the house closed the

 only police officer up to that point to enter into the house was

 BUDIMLIC.

       76.   Upon reaching the bottom of the steps Kourtessis turned

 towards the back of the house.       As he started towards the back of

 the house he immediately saw BUDIMLIC standing under the stairs

 in the hall next to the kitchen. At that point Kourtessis yelled

 to ANDREA REBELLO that it was going to be ok because the cops

 were there and he quickly ran behind the couch separating the

 living area from the kitchen.



                                      20
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 21 of 69 PageID #: 27



       77.   BUDIMLIC began shouting and yelling at Smith to drop

 his weapon. At no point in time did BUDIMLIC try to speak calmly,

 diffuse the situation, deescalate or scale down the situation in

 any way.

       78.   At no point did BUDIMLIC follow the procedures

 indicated in Commissioner’s Procedural Order 7-95 for

 Hostage/barricade situations.

       79.   From the point where Smith and BUDIMLIC faced off until

 BUDIMLIC fired his weapon, at all times, BUDIMLIC had his weapon

 pointed in the direction of ANDREA REBELLO.

       80.   As Smith was backing up, BUDIMLIC kept pressing and

 moving forward pointing his gun at Smith and ANDREA REBELLO.             At

 no point after BUDIMLIC and Smith were face to face did BUDIMLIC

 attempt to take any steps to deescalate, back off or to retreat.

       81.   Smith was backing towards a set of steps leading down

 to a landing which had a doorway to get out of the back of the

 house.

       82.   When Smith was on the steps leading down to the

 landing, still holding ANDREA REBELLO, BUDIMLIC fired his first

 two shots.

       83.   At the point in which officer BUDIMLIC was standing in

 front of the steps with his gun pointed at ANDREA REBELLO and

 Dalton Smith at all times officer BUDIMLIC was pressing forward,

 putting ANDREA REBELLO in greater danger.         This was in violation

                                      21
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 22 of 69 PageID #: 28



 of good and accepted police practices as well as Commissioner's

 Procedural Order, order no. 7-95 titled Procedure Relating to
                                                “




 Hostage/Barricade Incidents.

       84.   At the time officer BUDIMLIC fired the first two shots,

 Smith and ANDREA REBELLO were on the steps below him.

       85.   At all times prior to officer BUDIMLIC firing his

 weapon Smith was holding ANDREA REBELLO in front of him as a

 human shield.

       86.   At the point in time when police officer BUDIMLIC fired

 his weapon the first two shots entered into Dalton Smith’s chest.

       87.   After being shot twice in the chest Dalton Smith, with

 his arm still holding around ANDREA REBELLO ’s neck and head,

 fell down into the landing area, at which point ANDREA REBELLO

 had not yet been shot.

       88.   After Dalton Smith fell - while ANDREA REBELLO was

 still within BUDIMLIC’s grasp, with his arm around her neck and

 with both of them laying down, and with Smith completely

 incapacitated on the floor and no threat to BUDIMLIC - BUDIMLIC

 climbed down several steps, stood above ANDREA REBELLO and Dalton

 Smith, and proceeded to fire 5 to 6 more shots at Dalton Smith

 while his arm was still around ANDREA REBELLO’s neck and head

 area.

       89.   BUDIMLIC claimed he fired three sets of shots.

       90.   All other officers and witnesses only heard two sets of
                                      22
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 23 of 69 PageID #: 29



 shots, the first set consisting of two shots, and then the second

 set consisting of six shots.

       91.   It was a bullet from the second or third set of shots

 that killed ANDREA REBELLO.

       92.   At the point time when BUDIMLIC fired the bullet that

 killed ANDREA REBELLO she not a threat to BUDIMLIC and at the

 point in time when BUDIMLIC fired the bullet that killed ANDREA

 REBELLO, Dalton Smith was not a threat to BUDIMLIC.

       93.   At the point time when BUDIMLIC fired the bullet that

 killed ANDREA REBELLO, Dalton Smith was not a threat to ANDREA

 REBELLO.

       94.   At the point time when BUDIMLIC fired the bullet that

 killed ANDREA REBELLO, Dalton Smith had been shot two times and

 was laying on the floor.

       95.   When BUDIMLIC fired the bullet that killed ANDREA

 REBELLO she was laying on the floor with Dalton Smith’s arm still

 around her neck and head area.

       96.   Approximately five to ten seconds elapsed from the time

 the first two shots were fired by BUDIMLIC, before he fired the

 second round of shots.

       97.   After firing the first two shots BUDIMLIC approached

 both Dalton Smith and ANDREA REBELLO - while ANDREA REBELLO was

 still alive - and then he proceeded to fire bullets right into

 Dalton Smith and ANDREA REBELLO with complete disregard to the

                                      23
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 24 of 69 PageID #: 30



 life of ANDREA REBELLO as well as Dalton Smith.


       98.   BUDIMLIC fired the bullet that killed ANDREA REBELLO

 with deliberate indifference to ANDREA REBELLO’s life, well-being

 and safety, and in a manner that shocks the conscience,

 regardless of which of the eight bullets that BUDIMLIC fired

 killed her.

       99.   At the time the shots were fired, ANDREA REBELLO was in

 immediate proximity to Smith and was in obvious danger of being

 hit by any and all shots fired in her direction.

       100. At the moment that BUDIMLIC fired his gun for the first

 time Smith’s gun was pointed at ANDREA REBELLO and not at

 BUDIMLIC.

       101. Subsequent testing revealed that Smith’s gun was

 inoperable at the time it was tested.

       102. At all times after the first two shots were fired

 Dalton Smith was incapacitated, and officer BUDIMLIC was aware

 that his gun was inoperable. At the point in time when he fired

 the second set of shots Dalton Smith’s right hand (gun hand),

 arm, and body were positioned in such a way that he could not

 have been pointing the gun at ANDREA REBELLO.

       103. At all times after the first two shots were fired

 Dalton Smith was incapacitated and officer BUDIMLIC was aware

 that his gun was inoperable. At the point in time that he fired

 the second set of shots Dalton Smith’s right arm and body was
                                 24
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 25 of 69 PageID #: 31



 positioned in such a way that he could not have pointed the gun

 at BUDIMLIC.

        104. As BUDIMLIC was shooting he got closer to Dalton Smith,

 almost within 12 inches, and was shooting into his side when

 Smith and Rebello were completely helpless.

        105. At no point did Dalton Smith fire his weapon.

        106. BUDIMLIC shot a total of eight (8) bullets from his

 gun.

        107. After shooting the eight (8) bullets, BUDIMLIC observed

 Smith to be lying down on the landing and incapacitated, at which

 point he removed the gun from Smith's hand.

        108. At no point in time after ANDREA REBELLO was struck by

 a bullet did BUDIMLIC render any aid to her.

        109. Immediately after shooting ANDREA REBELLO in the head

 police officer BUDIMLIC picked Andrea up off of Smith or moved

 her while she was still bleeding after being shot, and leaned her

 forward onto the bottom step of the stairs.

        110. BUDIMLIC then proceeded to get on his radio, to call

 for help, and attempted to cuff Dalton Smith, who was clearly

 incapacitated.

        111. When BUDIMLIC moved ANDREA REBELLO he got her blood on

 his hands and clothes.

        112. BUDIMLIC immediately began to scream hysterically over

 the airwaves that he needed help in the house and everyone should

                                      25
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 26 of 69 PageID #: 32



 stay off the airwaves. BUDIMLIC, while he was on the landing,

 continued to attempt to cuff Smith and then received help from

 officer RUSSO.

       113. BUDIMLIC attempted to handcuff Smith after Smith was

 already dead or dying from multiple gunshot wounds.

       114. BUDIMLIC claims that at no point in time after he fired

 the eight (8) bullets did he touch or move ANDREA REBELLO.

       115. BUDIMLIC fired the bullet that killed ANDREA REBELLO.

       116. BUDIMLIC initially denied shooting ANDREA REBELLO.

       117. BUDIMLIC initially told NCPD personnel at the scene

 that Smith had shot ANDREA REBELLO.

       118. BUDIMLIC, by telling other NCPD personnel that Smith

 shot ANDREA REBELLO, derailed the investigation +away from him.

       119. Officer SANDERS and others came into the house within

 minutes of the shots being fired.         SANDERS went to the back steps

 and saw that ANDREA REBELLO was at the bottom of the stairs with

 her body on the landing and her head on the bottom step. At that

 time BUDIMLIC was near Smith also on the landing.

       120. SANDERS immediately saw that ANDREA REBELLO had been

 shot and injured but was still breathing. SANDERS and at least

 one other unknown officer proceeded to bring ANDREA REBELLO up

 from the landing area by the back door, up the stairs, and into

 the kitchen area for medical treatment.



                                      26
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 27 of 69 PageID #: 33



       121. Until other officers arrived at the back stairs,

 BUDIMLIC claims he was unaware that ANDREA REBELLO was injured.

       122.   When ANDREA REBELLO was in the kitchen, Sergeant

 HERMAN, who entered the house after the shooting, both saw and

 heard that ANDREA REBELLO was moaning as she was in the kitchen

 being attended to by police officers and EMS.

       123. Immediately after the shooting the Defendant Nassau

 County Police Department officers, including BUDIMLIC, began to

 cover up their wrongdoing.

       124. The police officers accounts of what occurred next, and

 what they observed, was the beginning of a massive cover-up to

 protect officer BUDIMLIC, as well as NASSAU COUNTY and other

 members of the Nassau County Police Department, from liability.

       125. At the point in time where officer BUDIMLIC was on the

 landing after shooting both Smith and Rebello he was attempting

 for several minutes to cuff Smith, cuffed one hand, and then

 eventually got assistance from officer RUSSO in completing the

 cuffing.

       126. Officer Budimlic then was escorted out of the house and

 immediately brought to the hospital before being asked for a

 formal statement or to submit to a forensic examination of any

 kind.




                                      27
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 28 of 69 PageID #: 34



        127. Police Officer RUSSO responded to the crime scene and

 entered the house, went down onto the landing where BUDIMLIC and

 Smith were, and proceeded to help BUDIMLIC cuff Smith.

        128. RUSSO after cuffing Smith remained in the area of the

 shooting – on the landing - for some period of time.

        129. After Smith was cuffed, Russo with his foot moved

 Smith’s gun away from where Smith was lying on the floor over

 towards the wall.

        130. In order for RUSSO to assist BUDIMLIC in putting

 handcuffs on Smith he had to step over or around ANDREA REBELLO,

 who was laying on the floor at the bottom of the steps at that

 time.

        131. The Defendant officers named herein, and the other JOHN

 DOES officers who were present at the crime scene, along with the

 Defendant supervisory officers named herein, and the other

 RICHARD ROES supervisory officers, spoliated and fabricated

 evidence as detailed below in paragraphs a - p.

 a.     After the shooting RUSSO began moving evidence and throwing

      boxes and other debris that was in the stairway around,

      thereby spoliating the crime scene and fabricating evidence.

 b.     While RUSSO was standing on the landing, and Smith was

      cuffed on the landing as well, AMTs came to the back door.




                                      28
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 29 of 69 PageID #: 35



 c.     RUSSO continued to destroy the crime scene and move evidence

      around, moving debris and opening the back door instead of

      asking the AMTs to come around to the front.

 d.     RUSSO moved evidence around and in the process moved

      forensic evidence, caused blood to transfer to locations where

      it had not been, and generally altered the crime scene

      dramatically.

 e.     RUSSO, after opening the back door, ripped Smith’s backpack

      off of his body and threw it out the back door all the way (5-

      8 feet) against the back fence of the property.

 f.     During the process of RUSSO altering the crime scene and

      moving evidence around, he created blood spatter where

      previously there was none, got blood all the way on the

      outside back fence despite the door being closed at the time

      of the shooting, and got blood on the outside of the back door

      where there had been none previously from the shooting.

 g.     None of the Defendant officers or Supervisors stopped RUSSO,

      or instructed him on proper crime scene protocol, or attempted

      to prevent him from altering the crime scene and spoliating

      and fabricating evidence.

 h.     RUSSO, by ripping the backpack off Smith and throwing it out

      the back door, created blood spatter and drips all over the

      crime scene and even outside where previously there had been


                                      29
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 30 of 69 PageID #: 36



      none.

 i.     RUSSO had blood on his hands and touched various locations

      in and around the crime scene, creating blood transfer and

      altering and fabricating evidence at the crime scene.

 j.     RUSSO along with other NCPD personnel turned Dalton Smith

      over and dragged him out the back door so that his head hung

      over the threshold of the back door, disturbing his final

      resting place after the shooting.

 k.     RUSSO gave no aid to Dalton Smith.

 l.     BUDIMLIC gave no aid to Dalton Smith.

 m.     RUSSO, along with other Defendant Officers present at the

      scene, conspired with BUDIMLIC to alter the crime scene to

      avoid civil and criminal liability for BUDIMLIC, the COUNTY OF

      NASSAU, and the other members of the NCPD involved.

 n.     Officer RUSSO was in no way disciplined for his failure to

      follow good and accepted police practices for crime scene

      integrity, or his failure to follow the department manual’s

      requirements for conduct of an officer the crime scene.

 o.     Upon information and belief RUSSO and the other Defendant

      Officers failed to follow the Nassau County policies and

      procedures for crime scenes, good and accepted crime scene

      procedures, and failed to follow crime scene duties pursuant

      to NCPD Department Manual Sections OPS 8115 and OPS 8201.

 p.     JOHN DOES Officers, and RICHARD ROES Supervisors, were in no

                                      30
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 31 of 69 PageID #: 37



    way disciplined for their failure to follow good and accepted

    police practices, along with the department manual’s

    requirements for conduct of officers at a crime scene.

       132. Shortly after the arrival of other police officers,

 BUDIMLIC exited the house and went into the back of an ambulance

 with Sergeant COHEN, and Officers MCGARRIGLE and RUSSO.            He was

 then taken to Nassau County University Medical Center.

       133. Officer SANDERS was allegedly “shaken up” and taken to

 Nassau County University Medical Center as well, where he shared

 a room with BUDIMLIC.

       134. Earlier, when JESSICA REBELLO exited the house she

 immediately crossed the street to find a place of safety. The

 JOHN DOES police officers at the scene yelled at her to get

 behind cars. At no time before the shooting took place did any

 JOHN DOES officers attempt to get further information from her

 about the circumstances and tactical situation in the house.

       135. After exiting the house, at no point was any effort

 made by any of the JOHN DOES members of the NCPD to comfort or

 provide access to treatment for the trauma JESSICA REBELLO had

 experienced that morning.        Police Officer ZAHARIS took custody

 of JESSICA REBELLO, ordered her to get into a Nassau County

 Police cruiser and ordered her not to leave it. Once in his

 police cruiser, ZAHARIS kept her at the scene for 3-5 hours (most

 of that time spent against her will in the police car). This was

                                      31
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 32 of 69 PageID #: 38



 either of his own volition or at the direction of RICHARD ROES

 NCPD supervisors and/or commanders that came to the scene after

 the shooting took place.

       136. At no point after JESSICA REBELLO was placed in the

 police car was she allowed freedom of movement, even though she

 was never suspected of any crime.

       137.   There was no valid police purpose for restricting

 JESSICA REBELLO’s movements, or denying her permission to call

 her mother after BUDIMLIC had shot her sister.          ZAHARIS took

 custody and control over JESSICA REBELLO and then handed that

 control over to other JOHN DOES NCPD officers or RICHARD ROES

 supervisors, and eventually to DETECTIVE MARTIN J. HELMKE.

       138. At the precinct HELMKE forced JESSICA REBELLO to give a

 signed statement about the events that she recollected that

 morning even though she was not in the house when the shooting

 took place.

       139. JESSICA REBELLO was kept at the scene for hours,

 positioned by ZAHARIS to view her sister being brought out of the

 house by EMS on a stretcher and placed into an ambulance, was

 prevented from sitting with her friend John Kourtessis, and,

 worse yet, was not even allowed to call her mother.           JESSICA

 REBELLO was left alone for long periods of time in the police

 car, adding to her fear and anxiety.



                                      32
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 33 of 69 PageID #: 39



       140. After the sun started coming up JESSICA REBELLO was

 brought into the mobile command vehicle that JOHN DOES members of

 NCPD brought to the scene and was told at that time that her

 sister had been killed, but she was not told who killed her

 sister.    After being told that her sister had been killed,

 instead of being released and allowed to call her mother or being

 treated by EMS at the scene, JOHN DOES members of the NCPD

 continued to maintain custody and control over JESSICA REBELLO.

 ZAHARIS and other JOHN DOES kept her at the scene until some JOHN

 DOE(S) within the NCPD felt like bringing her to the Precinct to

 have her statement taken.

       141. JESSICA REBELLO was begging to be allowed to call her

 mother, and said request was refused and/or ignored repeatedly.

 ZAHARIS and other JOHN DOES members of the NCPD failed to have

 JESSICA REBELLO examined by EMS personnel at the scene or taken

 to the hospital, despite the obvious trauma JESSICA REBELLO

 suffered due to being held hostage that morning and her sister

 being killed by BUDIMLIC.

       142. JESSICA REBELLO was treated like a perpetrator, instead

 of a victim who was supposed to be protected by the JOHN DOES

 members of the NCPD.      She was held at the scene for hours and

 then transported to the Precinct to give a statement while she

 was completely exhausted. The JOHN DOES members of the NCPD had

 no legal basis to take custody of JESSICA REBELLO or to restrict

                                      33
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 34 of 69 PageID #: 40



 her movement. Certainly they could have and should have let her

 call her mother. While JESSICA REBELLO was being callously held

 in a police cruiser with a male officer for hours, BUDIMLIC and

 SANDERS were immediately taken to the hospital to treat their

 “trauma”.    Neither SANDERS nor BUDIMLIC had physical injuries.

 Neither were held hostage, but yet the RICHARD ROES supervisors

 at the scene were only concerned with their officers’ wellbeing

 and had them taken to the hospital. In contrast, JESSICA REBELLO

 - who had been taken hostage, heard shots, was clearly terrified

 and traumatized, and came to learn her sister had been killed -

 was never permitted to be treated by any of the numerous EMS

 personnel at the scene, nor was she taken to the hospital.

 Instead she was taken to the Precinct so that the JOHN DOES

 members of the NCPD could take a statement from her at their

 convenience.

       143. JESSICA REBELLO was taken to what is believed to be the

 1st Precinct. She was forced to give a statement by HELMKE, was

 not allowed to leave or to see her mother who at that point had

 come to the precinct, and was kept isolated from her mother until

 the Detective finished taking her statement.

       144. JESSICA REBELLO was placed in custody and at no time

 was she a suspect in the shooting death of her sister ANDREA

 REBELLO. Her movements were illegally restricted so that HELMKE,



                                      34
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 35 of 69 PageID #: 41



 COUNTY and other JOHN DOES AND RICHARD ROE members of the NCPD

 could maintain media control over the event.

       145. NELLA REBELLO and FERNANDO REBELLO arrived at the

 police precinct to see JESSICA REBELLO in the late morning of May

 17, 2013. When they arrived at the Precinct they were not

 permitted to see JESSICA REBELLO until JOHN DOES members of the

 NCPD and HELMKE permitted them access to their daughter, JESSICA

 REBELLO.

       146. JESSICA REBELLO was finally released from custody at

 approximately 9 am.

       147. After NELLA and FERNDNDO REBELLO were allowed to see

 JESSICA REBELLO, they waited at the Precinct for the autopsy of

 ANDREA REBELLO to be completed so they could identify the body.

 They waited several hours in the Precinct until their daughter

 was ready to be identified. At no point in time did anyone on

 behalf of the COUNTY or the NCPD inform NELLA REBELLO, FERNANDO

 REBELLO or JESSICA REBELLO that BUDIMLIC, a Nassau County Police

 Officer, was the person who shot and killed ANDREA REBELLO.

       148. The next day, on May 18, 2013, representatives of the

 COUNTY and NCPD including Commissioner DALE, went to the Rebello

 home to inform the Rebello family that an NCPD officer shot and

 killed ANDREA REBELLO. They delivered to the Rebello family a

 picture of Dalton Smith and his rap sheet showing his criminal

 history, but they did not identify the officer who shot and

                                      35
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 36 of 69 PageID #: 42



 killed ANDREA REBELLO. They did not provide any information about

 the manner in which, or the reason why, BUDIMLIC had shot and

 killed their daughter nor did they provide any information about

 BUDIMLIC’s background or tell the family that BUDIMLIC had been

 involved in two other shootings prior to this one. They did not

 inform the family at that time that the NCPD Deadly Force Team

 had already determined on May 17th, the same day of the shooting,

 that BUDIMLIC was found to be justified in shooting ANDREA

 REBELLO.

       149. BUDIMLIC was in two prior shootings, one of which he

 described as a gun battle.

       150. Although BUDMILIC did not have the temperament or

 deportment befitting a POLICE officer, after this shooting

 BUDIMLIC was put back on duty, after now having been in three

 shootings and suffering no discipline, retraining or additional

 evaluation following any of the shooting incidents.

       151. Nassau County Police Department officers, including the

 Defendant officers herein, were not trained for hostage

 situations.

       152. The Defendant Nassau County Police officers who were

 first present at the scene before any supervisors arrived were

 not trained for hostage situations.

       153. BUDMLIC was not provided training for hostage barricade

 situations by the Nassau County Police department.

                                      36
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 37 of 69 PageID #: 43



       154. BUDMLIC was not provided access to the

 hostage/barricade procedures alleged by the County to be in

 effect on the date of the shooting.

       155. The Plaintiffs, through FOIL litigation, were provided

 a complete but redacted version of the Nassau County Department

 Manual in effect on May 17, 2013.

       156. The Nassau County Police Department Manual Section for

 hostage barricade incidents in effect on May 17, 2013 was not

 contained within the Department Manual, as it was missing from

 the content as well as the table of contents.

       157. The Nassau County Police Department manual that was in

 effect on May 17th 2013 states that its purpose is to provide a

 source of reference to all members of the department. The

 policies communicate objective goals, and philosophies, and the

 rules direct the conduct, behavior and actions of the members of

 the department. The procedures provide guidelines and standardize

 methods of response to common situations.

       158. The written procedures of the department, according to

 Section Admin 113, is to develop and publish department policies,

 rules and procedures that provide direction and guidance to its

 members.

       159. The Nassau County Department manual contains

 operational procedures entitled OPS with a section number. The

 OPS Section 1155 {effective date August 31, 2001} for mentally
                                      37
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 38 of 69 PageID #: 44



 disabled persons essentially states that if a mentally disabled

 person situations evolves into a hostage situation then the

 Police Officers should look to OPS Section 2112 entitled

 Hostage\Barricade Incidents Procedures, which in fact is not

 contained within said department manual.

       160. The OPS sections of the department manual in effect on

 May 17, 2013 are contained within the 12000s sections for

 tactical methods and special events which has Section OPS 12111

 Bombs and Bomb Threats, the next numerical Section being ops

 12113 Hazardous Material Incidents. Therefore, the department

 provided no department manual section for hostage barricade

 incidents, in violation of good and accepted police practices.

       161. In a letter dated May 27, 2015 the Nassau County Police

 Department claimed that Police Commissioner's Procedural Order,

 Order no. 7-95 titled Procedure Relating to Hostage/Barricade

 Incidents was in effect on the date of the shooting.

       162. Despite said claim no section of the Department Manual

 references said Commissioner’s Procedural Order. Additionally,

 OPS Section 12111 is dated June 2, 2000 and OPS section 12113 is

 dated October 19, 2001 clearly indicating that section 12112

 which should have been written sometime between 2000 and 2001 and

 accessible to the police officers for guidance was simply not

 there, despite the fact that police officers of Nassau County

 would be faced with these situations at some point in time to a

                                      38
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 39 of 69 PageID #: 45



 moral certainty.

       163. If Commissioner's Procedural Order, order no. 7-95

 titled Procedure Relating to Hostage/Barricade Incidents had been

 in effect (which Plaintiffs dispute) the Defendant police

 officers and police supervisors, and the police communications

 operators, violated the procedures contained in said

 Commissioner’s Procedural Order.

       164. Commissioner's Procedural Order, order no. 7-95 was

 violated by the Defendant supervisors at the scene, including

 sergeants HERMAN and COHEN, by their failing to properly

 supervise the officers at the scene.

       165. Commissioner's Procedural Order, order no. 7-95 was

 violated by the Defendant supervisors at the scene, including

 sergeants HERMAN and COHEN, by their failing to establish a

 perimeter and limit access to the hostage taker to hostage

 negotiators and/or Bureau of Special Operations or other

 personnel specifically authorized by the incident commander.

       166. The County of Nassau, and its Defendant Police Officers

 and Supervisors, including officer BUDIMLIC, failed to adhere to

 Commissioner's Procedural Order, order no. 7-95 requirement of

 establishing firearms discipline.

       167. The COUNTY of Nassau and its Defendant police officers

 and supervisors, including supervisors COHEN and HERMAN as well

 as officer BUDIMLIC, violated the purpose of the aforementioned

                                      39
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 40 of 69 PageID #: 46



 Commissioner's Procedural Order, the primary goal of which in any

 hostage barricade incident is to protect all human life by

 providing for the safe release of any hostages and the surrender

 of the subject while minimizing any risk to the police personnel.

       169. BUDIMLIC, COHEN, HERMAN, RICHARD ROES, and JOHN DOES

 police officers additionally violated the policy of the

 department regarding hostage barricade incidents according to the

 Commissioner's Procedural Order, Order no. 7-95 that requires an

 attempt to utilize the principles of negotiation wherever

 circumstances permit this approach, and emphasizes use of

 communication and time to de-escalate the situation, thereby

 decreasing the potential for violence while working towards a

 lawful resolution.

       170. Each and every act of the Defendants present at the

 scene prior to the shooting, including the supervisors and

 BUDIMLIC as detailed herein, violated this policy, and no efforts

 to deescalate the incident were attempted by any police officer

 at the scene, including BUDIMLIC.

       171. The conclusion listed in Commissioner's Procedural

 Order, order no. 7-95 embodies good and accepted police practices

 and was violated by COHEN, HERMAN, BUDIMLIC and every officer and

 supervisor involved with the shooting, as no attempt at

 negotiation was attempted. The conclusion states that one of the

 most basic concepts in a hostage negotiation is to use

                                      40
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 41 of 69 PageID #: 47



 conversation in time to slow the movement of events and thereby

 provide the opportunity to reduce tension and anxiety. Indeed,

 statistical data strongly indicates that negotiations are more

 successful than tactical responses in saving lives and reducing

 the likelihood of injury for all involved, and therefore the

 department’s policy is that negotiation is the preferred course

 of action for members responding to assignments involving

 hostages or and/or barricaded persons.

       172. Whether or not Commissioner's Procedural Order, Order

 no. 7-95 was in effect the Defendant police officers and

 supervisors that arrived at the scene or heard the Police

 Communication transmissions regarding this incident as it was

 unfolding, including defendant       BUDIMLIC, were not properly

 trained to follow good and accepted police practices regarding

 Hostage incidents or the procedures specifically contained in

 Commissioner's Procedural Order, Order no. 7-95

       173. When the call came through that there were people in

 the house and there were hostages being held at gunpoint or

 people being held at gunpoint the Defendant supervisors were not

 trained to respond appropriately to the hostage situation, failed

 to actually appreciate that it was a hostage situation, failed to

 take control of the situation, and failed to make sure that all

 of the officers followed good and accepted police practices,

 including Commissioner's Procedural Order, order no. 7-95, if it

                                      41
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 42 of 69 PageID #: 48



 was in effect.

       174. BUDIMLIC entered the house with deliberate indifference

 to the hostages’ wellbeing.

       175. When Officer BUDIMLIC entered the house he ignored the

 department manual procedures and good and accepted police

 practices by failing to attempt to speak with Jessica Rebello who

 was exiting the house, to ascertain the situation and get the

 appropriate facts prior to entering the premises.

       176. When BUDIMLIC entered the premises, in violation of

 good and accepted police practices as well as Commissioner's

 Procedural Order, Order no. 7-95 and any other hostage training

 he may have had, he created a danger to the hostages, himself, as

 well as the other police officers at the scene.

       177. BUDIMLIC created a danger for ANDREA REBELLO, himself,

 and the other police officers at the scene by entering the house

 and failing to make any effort whatsoever to deescalate the

 situation.

       178. BUDIMLIC created a danger for ANDREA REBELLO, himself,

 and the other police officers at the scene by entering the house

 without getting instructions from the Defendant supervisors,

 including COHEN, HERMAN or anyone else in command.

       179. Defendant supervisors, including COHEN and HERMAN, were

 a significant causal factor in BUDIMLIC’s creating a danger to

 ANDREA REBELLO, by failing to give BUDIMLIC instructions over the

                                      42
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 43 of 69 PageID #: 49



 air or in person that he and everyone else there should wait for

 the Hostage negotiators, or supervisors, or for further

 instruction before taking any action of entering the house or

 escalating the need for the use of force.

       180. Immediately after this officer involved shooting took

 place the cover-up of this shooting incident began to mobilize.

       181. The defendants herein failed to properly investigate

 this officer involved shooting, investigate the crime scene,

 conduct a proper investigation concerning an officer involved

 shooting where the officer commits a double homicide, failed to

 preserve forensic evidence, and in addition they spoliated

 evidence and fabricated evidence to attempt to protect BUDIMLIC,

 the COUNTY, and the other Defendants from liability and deny the

 PLAINIFFS fair access to the Courts. These actions of the

 Defendants are detailed below.

       182. BUDIMLIC after shooting both Smith and Rebello began

 screaming for his colleagues to stay off the air in attempt to

 keep all information about the shooting off the air. There was no

 concern for Andrea, Smith or anyone other than himself and only a

 concern for keeping the truth of what happened from the media and

 the public.

       183. Before firing his weapon but after entering the house

 BUDIMLIC claimed his radio was not working and therefore he could

 not communicate, but there was no subsequent testing of his radio

                                      43
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 44 of 69 PageID #: 50



 by defendants to confirm or deny said statement.

        184. At no point over the air was it ever stated that

 officer BUDIMLIC or a Nassau County police officer had shot and

 killed ANDREA REBELLO. The Nassau County Police Department’s

 first concern was to cover up the incident and keep it from the

 media’s attention.

        185. The Defendants immediately began both protecting

 BUDIMLIC, the COUNTY, and the other Defendants by covering up

 that an officer shot ANDREA REBELLO.

        186. Based upon FOIL responses no Internal Affairs Bureau

 investigation of BUDIMLIC’s shooting and killing two people was

 conducted, in derogation from good and accepted officer involved

 shooting investigation practices.         Commissioner DALE at the time

 could have ordered and requested IAB to conduct an investigation,

 but did not.    An IAB investigation would have uncovered various

 violations of NCPD policy committed by not only BUDIMLIC but the

 other Defendant officers and supervisors at the scene.

        187. Shortly after the shooting BUDIMLIC was escorted out of

 the house, given a care taker officer, and immediately brought to

 the hospital before a formal statement of any kind was taken of

 him.

        188. The Defendant Officers and Supervisors, including

 Defendant crime scene investigators and Defendant homicide

 investigators and Defendant members of the deadly force team, in

                                      44
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 45 of 69 PageID #: 51



 contravention of good and accepted police investigative

 techniques in officer involved shootings, did not have any

 photographs taken of BUDIMLIC’s hands, clothes or his shoes.

       189. The Defendant Officers and Supervisors, including

 Defendant crime scene investigators and Defendant homicide

 investigators and Defendant members of the deadly force team, in

 contravention of good and accepted police investigative

 techniques in officer involved shootings, did not have any

 forensic examination conducted of BUDIMLIC’s hands, clothes or

 his shoes.

       190. The Defendant Officers and Supervisors, including

 Defendant crime scene investigators and Defendant homicide

 investigators and Defendant members of the deadly force team, in

 contravention of good and accepted police investigative

 techniques in officer involved shootings, failed to preserve

 BUDMILIC’s clothes, shoes and/or gloves in their condition

 immediately after the shooting.

       191. Had forensics been gathered of BUDMILIC, such as his

 clothes, hands and/or shoes it would have contradicted statements

 given by BUDIMLIC to both the NCPD and the District Attorney’s

 office regarding his actions before and after the shooting and

 the contact he had with ANDREA REBELLO.

       192. The only testing that was done regarding BUDMILIC’s was

 on his gun.

                                      45
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 46 of 69 PageID #: 52



       193. The DNA testing that was done by NCPD was selective and

 self-serving.

       194. As previously stated immediately after the shooting

 BUDIMLIC told NCPD personnel that Dalton Smith had shot and

 killed ANDREA REBELLO and, as Smith was dead, the investigation

 was thereby deflected away from investigating BUDMILIC.

       195. Immediately after the shooting JESSICA REBELLO and John

 Kourtessis, witnesses to the events, were held and required to

 give statements while they were exhausted. Defendants forced

 Jessica and John Kourtessis to sign the statements without the

 benefit of reading them. When Kourtessis at a later interview

 refuted certain various important parts of the statement no

 further action was taken in investigating this officer involved

 shooting or revisiting the Deadly Force team’s report which in

 part relied on his statement.

       196. The Defendant Officers and Supervisors, including

 Defendant Police supervisors, Defendant crime scene investigators

 and Defendant homicide investigators and Defendant members of the

 deadly force team, instead of requiring BUDIMLIC to give a

 similar sworn statement, audio statement or video statement, took

 his statement without it being recorded or signed and sworn to in

 front of a notary, or even endorsed by him, in contravention of

 good and accepted practices for officer involved shooting

 protocol.

                                      46
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 47 of 69 PageID #: 53



       197. The Defendant Officers and Supervisors, including

 Defendant Police supervisors, Defendant crime scene investigators

 and Defendant homicide investigators and defendant members of the

 deadly force team, never required a single police officer who

 witnessed the shooting and the events leading up to and

 immediately after this shooting, to give a signed statement, a

 statement in their own handwriting, an audio recorded statement,

 or a video recorded statement, in order to allow them to be able

 to change their testimony as necessary to shield Defendants from

 liability.

       198. Interviews were conducted by the Deadly force team, the

 Homicide detectives and the District Attorney’s office where

 defendants GOLDMAN, FITZPATRICK AND HENDRY were present, and not

 a single one of the Defendant Officers so much as took out their

 phones and recorded these statements, either by audio or video,

 made by the Defendant officers who were at the scene, including

 BUDIMLIC.    This was in contrast to all the other witnesses, all

 of whom were required to sign statements, written by NCPD

 officers.

       199. The Nassau County Police Department has procedures and

 protocols for the deadly force team that investigates shootings

 as well as the use of deadly force.

       200. The Nassau County department manual section Admin 1221

 governs the procedures for the Deadly Force Response Team. The

                                      47
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 48 of 69 PageID #: 54



 team in this case consisted of the top ranked officers generally

 considered the most knowledgeable about police practices within

 the Nassau County Police Department.

       201. The deadly force response team in this case consisted

 of defendants CHIEF LORRAINE A. HANNON, Chief of Support, DEPUTY

 INSPECTOR JOSEPH MAGRANE, Commanding Officer, 1st Precinct,

 DEPUTY INSPECTOR DANIEL FLANAGAN, Commanding Officer, Police

 Academy, LIEUTENANT HARUN BEGIS, Commanding Officer, Firearms

 Training Unit, DETECTIVE SERGEANT STEPHEN FITZPATRICK, Homicide

 Squad, and they conducted their perfunctory and abjectly

 inadequate investigation and issued a report.

       202. Nassau County Department Manual Section Admin 1221

 required the Deadly Force Response Team to issue a report before

 the next business day.

       203. The policies and procedures outlined in section Admin

 1221 lead to reports being issued, and determinations made

 whether the force was justified or not, prior to a full and

 proper investigation, and only permit a limited amount of

 information to be ascertained by the Team prior to the issuance

 of the required report.

       204. In this instance the Deadly Force Response Team report

 was issued the same day as the shooting, on May 17th.

       205. The Deadly Force Response Team determined that the

 shooting was justified.

                                      48
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 49 of 69 PageID #: 55



       206. The policies and procedures articulated in the manual

 and used by the Defendant COUNTY caused the Deadly Force Response

 Team to issue a report without having the opportunity to review

 an autopsy report, autopsy findings, scene diagrams or any other

 forensic analysis that could corroborate the accounts of the

 police officers.

       207. The interviews conducted by the Deadly Force Response

 Team of the officers at the scene often were sparse and for the

 most part consisted of two or less pages of notes.

       208. Once the Deadly Force Response Team determined that the

 shooting was justified the entire investigation focused away from

 BUDIMLIC and focused on shielding BUDIMLIC and the other

 Defendants from liability.

       209. The police department did not conduct any investigation

 into the multiple and various versions of police officers’

 accounts of the shooting.

       210. In this matter the Nassau County Police Department has

 stated that they forwarded the entire homicide investigative

 files through a FOIL response of approximately 2200 pages of

 documents to the plaintiffs’ attorneys herein.

       211. The Nassau County Police Department has represented to

 not only the plaintiffs’ attorneys, but the Appellate Division

 Second Department of New York State, that this response contained

 the entire homicide file and investigative files of this

                                      49
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 50 of 69 PageID #: 56



 incident.

       212. NCPD department manual Admin 1220 requires that a

 firearm discharge report be prepared in this matter, and even

 that basic requirement was not followed for officer BUDIMLIC, who

 clearly and admittedly discharged his weapon.

       213. The Defendant supervisors, including LT. JOHN AZZATA

 and THOMAS DALE, failed to require and cause said firearm

 discharge report to be filled out.

       214. At no point did BUDIMLIC give any statement that was

 consistent with the forensic evidence in this case.

       215. The COUNTY caused an autopsy to be conducted by doctors

 at the Nassau County Medical Examiner’s Office of both Smith and

 ANDREA REBELLO.

       216. The autopsy report issued by the medical examiner’s

 office had various findings that were contradictory to the

 conclusions reached by the Defendants in the investigation of

 this case, and to the various statements BUDIMLIC gave to the

 NCPD and District Attorney’s Office.

       217. The autopsy report revealed groupings of bullets

 consistent with at least 2 sets of shots.

       218. At no point was any statement given by BUDIMLIC to the

 COUNTY, its investigating Defendant police officers and

 supervisors, or the district attorney’s office, consistent with

 the autopsy reports or the forensic crime scene evidence, despite

                                      50
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 51 of 69 PageID #: 57



 much of the evidence being altered and fabricated.

       219. The statements that BUDIMLIC gave all had both Smith

 and Rebello below him on the stairs or at least even with him

 when he fired the first set of shots.

       220. After the first set of shots BUDIMLIC claimed that

 ANDREA REBELLO crouched down on the bottom step either of her own

 volition or in response to his instructions.

       221. At no point was BUDIMLIC asked what he saw after he

 fired his gun as to the reactions of either Smith of ANDREA

 REBELLO.

       222. At no point was he asked to explain in any detail as to

 where he saw his bullets hit each time he fired his gun for each

 shot or group of shots.

       223. At no point did any of BUDIMLIC’s statements as to how

 and when he fired at Smith and ANDREA REBELLO correspond in any

 way to the autopsy evidence or the forensic crime scene evidence.

       224. The Autopsy report was not consistent with ANDREA

 REBELLO being shot and killed with one of the first two shots.

       225. After obtaining the results of the autopsy report the

 COUNTY, its officers, its investigating Defendant detectives, and

 the Defendants’ deadly force response team, failed to compare the

 results with BUDIMLIC’s statements.

       226. The Defendants’ Deadly Force Shooting Team never

 revisited the statements given by BUDIMLIC and compared them with

                                      51
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 52 of 69 PageID #: 58



 the autopsy of ANDREA REBELLO to determine whether or not officer

 BUDIMLIC had been telling the truth during this investigation,

 and to revisit whether the shooting was justified.

       227. At no point in time was officer BUDIMLIC ever asked by

 anyone on behalf of the Nassau County Police Department which

 shot that he fired that he believed hit ANDREA REBELLO, or could

 have struck ANDREA REBELLO.

       228. At no point was any recording generated by anyone

 investigating this officer involved shooting on behalf of the

 Nassau County Police Department of any question and answer as to

 which shot BUDIMLIC believed struck or could have struck ANDREA

 REBELLO.

       229. BUDIMLIC was never asked to even hazard a guess which

 of the shots that he fired was the one that killed ANDREA

 REBELLO.

       230. The crime scene investigation evidence collection and

 diagram directly conflicts with multiple statements given by

 BUDIMLIC.

       231. The lack of questioning initially by the very

 experienced Nassau County defendant police detectives and any

 follow up as to the discrepancies between the statements taken

 from BUDIMLIC and the forensic and Autopsy reports is compounded

 with the lack of a signed, audio or video statement by BUDIMLIC or

 any officer.

                                      52
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 53 of 69 PageID #: 59



       232. The Nassau County district attorney’s office conducted

 an investigation into this shooting and issued a report in April

 2014. The DA’s investigation included interviewing numerous police

 officers, including BUDIMLIC.

       233. The defendants GOLDMAN and/or FITZPATRICK were present

 for all of the interviews and HENDRY was present for at least one

 of the interviews.

       234. The defendants GOLDMAN, FITZPATRICK and HENDRY failed

 to record any of the interviews taken by the District Attorney’s

 office or ask a single question to clarify any inconsistencies

 with prior statements, forensic evidence or the autopsy reports.

       235. The Defendants ignored blatant inconsistencies

 concerning BUDIMLIC’s reason for shooting at Smith while in

 contact with ANDREA REBELLO in statements given to the Nassau

 County Police Lieutenant JOHN AZZATA and the to the District

 Attorney’s office.

       236. LT. AZZATA gave a press conference, reporting to the

 public what happened.

       237. LT. AZZATA personally spoke with BUDIMLIC to get his

 version of what happened prior to his press conference.

       238. The information LT. AZZATA reported to the public at

 the press conference was what was told to the Deadly Force

 Shooting Team.



                                      53
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 54 of 69 PageID #: 60



       239. The information LT. AZZATA reported to the public at

 the press conference was what was told to NCPD officers who

 personally spoke with BUDIMLIC and reported back to LT. AZZATA

 what was told to them.

       240. LT. AZZATA, spokesman for the Nassau County Police

 Department, on MAY 18 or 19th      2013 at a press conference stated,

 after giving some background and details leading up to the

 shooting, in pertinent part that “Smith is holding ANDREA

 REBELLO.   When he realizes there is a police officer in the house

 he moves ANDREA REBELLO even closer to the front of his body.             He

 is backing out towards that back door.         He still has the gun

 pointed at the victim’s head, eventually menaces our police

 officer, points his gun at the police officer and at that point

 the police officer fires his weapon several rounds.”

       241. Although Plaintiffs dispute the factual conclusions in

 the report, the District Attorney’s report detailed the events as

 told to them by BUDIMLIC concerning the seconds before the

 shooting as follows:

    According to Officer Budimlic, while Smith was attempting to
    descend backward down the set of steps, Smith began losing
    control over ANDREA REBELLO. Smith was trying to retain
    control over her, but Smith's arm was becoming looser around
    her neck. Officer Budimlic observed ANDREA REBELLO begin to
    turn her body away from Smith, leaving a larger portion of
    Smith's body more exposed. Officer Budimlic was able to see
    more of Smith's body mass, including his shoulder, which had
    previously been shielded by ANDREA REBELLO. Officer Budimlic
    observed Smith to be off balance. At that moment, Smith once
    again pointed his gun at ANDREA REBELLO's head yelling, "Fuck
                                      54
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 55 of 69 PageID #: 61



    you, I'll kill her, I'll kill her!" Officer Budimlic,
    believing Smith would shoot ANDREA REBELLO and believing this
    might be his only opportunity, fired his weapon twice at
    Smith. After the first two shots, Officer Budimlic observed
    Smith let go of ANDREA REBELLO but still maintain the gun in
    his right hand. Officer Budimlic yelled to ANDREA REBELLO to
    get down. Officer Budimlic observed ANDREA REBELLO bend over
    and lean down toward the steps.

       242. The version of the events as stated by the NCPD

 spokesman for this incident, LT. AZZATA, and BUDIMLIC’s version

 as related by the District attorney’s investigators, are

 completely inconsistent as to the motivation for shooting: one

 was in self defense, and the other in defense of Andrea.

       243. Despite these inconsistent statements no further

 inquiry or investigation was conducted by the Defendants of this

 double homicide officer involved shooting.

       244. Additionally, as previously stated herein, the autopsy

 findings are completely inconsistent with both of these

 statements attributed to BUDIMLIC, and the other Defendants,

 including GOLDMAN and FITZPATRICK were aware of the

 inconsistencies.

       245. Defendants GOLDMAN and FITZPATRICK were pressured by

 the higher ranking Defendant supervisors, LT AZZATA and THOMAS

 DALE, to ignore the obvious inconsistencies and make sure the

 investigation was consistent with the Deadly Force Response

 Team’s conclusion that the shooting was justified.

       246. The Defendant investigators, when faced with the

 prospect of having to refute that the Deadly Force Response Team
                                 55
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 56 of 69 PageID #: 62



 came to a possibly erroneous conclusion that the shooting was

 justified, failed to follow up. The Defendants herein failed to

 conduct a full and thorough investigation of an officer involved

 shooting case, despite the inconsistent and therefore false

 statements by BUDIMLIC, who shot and killed two people.

       247. The COUNTY has represented that it supplied Plaintiffs’

 attorneys in this action with the entire police file, including

 the crime scene records documents and notes, pursuant to a FOIL

 request, and subsequent litigation despite Plaintiffs disputing

 this claim. The COUNTY claims no records were left out.

       248. Based upon what was turned over by the COUNTY, and the

 representations that it was a complete file of all records, the

 crime scene team - consisting of Defendants DET. PAUL PICH, DET

 MICHAEL MALONEY, DET BUFFALINO, and DET SERGENT AQUILINA, or any

 other police officer on behalf of the NCPD - did not take any

 field notes in investigating this incident, in a complete

 departure from good and accepted police practices.

       249. Based upon what was turned over by the COUNTY and the

 representations that it was a complete file of all records, the

 crime scene team - consisting of Defendants DET. PAUL PICH, DET

 MICHAEL MALONEY, DET BUFFALINO, and DET SERGENT AQUILINA, or any

 other police officer on behalf of the NCPD - did not take any

 field notes in investigating this incident pursuant to the

 instructions of Defendant supervisors, including THOMAS DALE and

                                      56
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 57 of 69 PageID #: 63



 LT. AZZATA.

       250. The crime scene team Defendants conducted no analysis

 as to the positions of BUDIMLIC, ANDREA REBELLO or Dalton Smith

 immediately before, during, or after the shooting.

       251. No one from the COUNTY of Nassau conducted any analysis

 as to recreating the shooting. There was only one diagram which,

 indicated locations of blood collection and Smith’s body in its

 final resting location (after RUSSO dragged him out the door and

 left him with his head hanging out the back door threshold), not

 where he was initially shot.

       252. The defendant detectives from the crime scene

 investigation team, in addition to taking an insignificant amount

 of pictures, failed to take photographs of the entire area in

 which the shooting took place.       The investigation was conducted

 in such a manner as to have the appearance of a complete and full

 investigation, but when the actual evidence is looked at there is

 no actual crime scene analysis, just measurements and collection

 of evidence and recording what was taken from the hostages and

 from the house.

       253. By 3:15am the crime scene was secured all threats were

 determined to be eliminated and at that point ANDREA REBELLO and

 BUDIMLIC were both removed from the scene.

       254. In a significant departure from good and accepted crime

 scene procedures for an officer involved shooting where two

                                      57
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 58 of 69 PageID #: 64



 people were killed, no photographs were taken until approximately

 10:30 a.m. the next morning, with some of the photographs not

 being taken until closer to 12 pm the next day, almost 7 to 9

 hours later, after the crime scene became stale. Proper crime

 scene procedures where there is a significant amount of blood and

 blood spatter would dictate that photographs be taken as soon as

 possible.

       255. NCPD crime scene detectives on other cases had taken

 photographs at night, had flashes for their cameras, and had not

 waited until 7 to 10 hours later to take photographs.

       256. The Defendant supervisors in charge of the crime scene

 ordered that photographs not to be taken by the crime scene

 detectives until 7 hours later.

       257. Detective GOLDMAN and the other Defendant detective

 investigators proposed or inquired into numerous different types

 of analysis, and then abandoned them.

       258. Detective GOLDMAN requested numerous different types of

 analysis based upon his notebook provided through FOIL

 disclosure, and then abandoned said investigation and analysis

 because THOMAS DALE, LT. AZZATA and other high ranking RICHARD

 ROE police commanders directed him to bury the investigation.

       259. Detective GOLDMAN requested numerous different types of

 analysis based upon his notebook provided through FOIL

 disclosure, and then abandoned said investigation and analysis

                                      58
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 59 of 69 PageID #: 65



 because THOMAS DALE, LT. AZZATA and other high ranking RICHARD

 ROE police commanders directed him to abandon obtaining the full

 crime scene analysis because the shooting had already been

 determined to have been justified.

       260. The records that were created by the Nassau County

 Police Department personnel and the Defendants herein were

 designed to be as sparse as possible and record as little

 information as possible.

       261. Commissioner's Procedural Order, order no. 7-95, as

 well as good and accepted police procedures for hostage barricade

 incidents, give certain responsibilities for the officers as they

 arrive at the scene.

       262. Commissioner's Procedural Order, Order no. 7-95 as well

 as good and accepted police procedures for hostage barricade

 incidents requires that the first police officers at the scene

 have certain responsibilities that do not include rushing into

 the house or building where hostages are being held.

       263. The determination of exactly who was at the scene first

 is relevant to BUDIMLIC’s and the other Defendants’ conduct at

 the scene.

       264. The attorneys for the Plaintiffs herein made a FOIL

 request for all GPS data for the vehicles that arrived at the

 scene, to determine in what order the vehicles arrived at the

 house, instead of having to rely upon the defendants herein for

                                      59
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 60 of 69 PageID #: 66



 that information.

       265. The County provided GPS data for more than 30 vehicles

 that arrived at the scene, and almost all the vehicles GPS data

 that responded to the scene was available, except for BUDIMLIC’s

 vehicle and those of a few of the other officers who arrived at

 the scene.

       266. There has been no explanation provided by the County as

 to why the data was missing, and the fact that almost all data

 was available except for the BUDIMLIC’s and a few other early

 responding officers can only be - like with the many other

 incidents of malfeasance by action or omission set forth above -

 because it was intentionally destroyed to further shield the

 Defendants, including BUDIMLIC, from liability and deny the

 Plaintiffs access to the courts.



                                 FIRST CLAIM

                 DEPRIVATION OF RIGHTS UNDER THE
          UNITED STATES CONSTITUTION AND 42 U.S.C. §1983

       267.   The plaintiffs incorporate by reference the

 allegations set forth in all preceding paragraphs as if fully set

 forth herein.

       268. By their conduct and actions in using unreasonable

 force upon, in exhibiting deliberate indifference to the life,

 health, welfare, medical needs, and safety of, in detaining,


                                      60
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 61 of 69 PageID #: 67



 seizing, falsely arresting and imprisoning, violating rights to

 due process of, denying access to the courts of, engaging in

 conduct that shocks the conscience upon, inflicting emotional

 distress upon, and failing to intercede on behalf of, plaintiffs,

 and in spoliating and fabricating evidence concerning the May 17,

 2013 incident, the individual defendants, POLICE OFFICER NIKOLAS

 BUDIMLIC, POLICE OFFICER NICHOLAS ZAHARIS, DETECTIVE MARTIN J.

 HELMKE, JOHN DOE NASSAU COUNTY POLICE COMMUNICATIONS OFFICER

 (“PCO”) WITH ID NUMBER 458, POLICE OFFICER JOSEPH AVANZATO,

 POLICE OFFICER MICHAEL LEONE, POLICE OFFICER MARLON SANDERS,

 POLICE OFFICER JOSEPH LOBELLO, POLICE OFFICER CHRISTOPHER

 ACQUILINO, POLICE OFFICER RAYMOND BUTTACAVOLI, POLICE OFFICER

 DANIEL HEALEY, POLICE OFFICER DENNIS WUNSCH, POLICE OFFICER

 RONALD RUSSO, POLICE OFFICER D. STELLER, POLICE OFFICER THOMAS

 CURTAIN, POLICE OFFICER JOHN TUCKER, POLICE SERGEANT ROBERT

 COHEN, POLICE SERGEANT RICHARD HERMAN, POLICE OFFICER J.

 SCHOEPFER, POLICE OFFICER E. JACOBSEN, POLICE OFFICER D.

 MCGARRIGLE, THOMAS DALE, former        Commissioner of the Nassau

 County Police Department, DETECTIVE FREDERICK GOLDMAN, DETECTIVE

 FRANK A RUVULO, DETECTIVE JAMES HENDRY, DETECTIVE PAUL PICH,

 DETECTIVE MICHAEL MALONEY, DETECTIVE BUFFALINO, DETECTIVE SERGENT

 AQUILINA, LT. JOHN AZZATA, CHIEF LORRAINE A. HANNON, Chief Of

 Support, DEPUTY INSPECTOR JOSEPH MAGRANE, Commanding Officer, 1st

 Precinct, DEPUTY INSPECTOR DANIEL FLANAGAN, Commanding Officer,

                                      61
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 62 of 69 PageID #: 68



 Police Academy,

 LIEUTENANT HARUN BEGIS, Commanding Officer, Firearms

 Training Unit, DETECTIVE SERGEANT STEPHEN FITZPATRICK, Homicide

 Squad, JOHN DOE POLICE OFFICERS 1-10, RICHARD ROE POLICE

 SUPERVISORS 1-10, JOHN DOES, RICHARD ROES, and THOMAS DALE,

 acting both on their own and in conspiracy with each other,

 intentionally, maliciously, and with a deliberate indifference to

 or a reckless disregard for the natural and probable consequences

 of their acts, caused damage and injury in violation of the

 plaintiffs’ Constitutional rights as guaranteed under 42 U.S.C.

 §1983 and the United States Constitution, including its Fourth

 and Fourteenth Amendments.

        269.       As a result of the foregoing, plaintiffs were

 deprived of their life and liberty, suffered specific and serious

 bodily injury, pain and suffering, loss of enjoyment of life,

 loss of a family member, psychological and emotional injury,

 great humiliation, costs and expenses, and were otherwise damaged

 and injured.

                              SECOND CLAIM

   SUPERVISORY LIABILITY FOR DEPRIVATION OF RIGHTS UNDER THE
         UNITED STATES CONSTITUTION AND 42 U.S.C. §1983

       270.    The plaintiffs incorporate by reference the

 allegations set forth in all preceding paragraphs as if fully set

 forth herein.

                                      62
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 63 of 69 PageID #: 69



       271.   By failing to remedy the wrongs committed by their

 subordinates, and in failing to properly train, screen,

 supervise, or discipline their subordinates, supervisory

 individuals / officers Defendants LT JOHN AZZATA, POLICE SERGEANT

 ROBERT COHEN, POLICE SERGEANT RICHARD HERMAN, DETECTIVE SERGEANT

 AQUILINA, CHIEF LORRAINE A. HANNON, Chief Of Support, DEPUTY

 INSPECTOR JOSEPH MAGRANE, Commanding Officer, 1st Precinct,

 DEPUTY INSPECTOR DANIEL FLANAGAN, Commanding Officer, Police

 Academy, LIEUTENANT HARUN BEGIS, Commanding Officer, Firearms

 Training Unit, DETECTIVE SERGEANT STEPHEN FITZPATRICK, Homicide

 Squad, Former Commissioner THOMAS DALE, RICHARD ROES 1-10 and

 RICHARD ROES, caused damage and injury in violation of

 plaintiff’s rights guaranteed under 42 U.S.C. §1983, and the

 United States Constitution, including its Fourth and Fourteenth

 amendments.

       272.   As a result of the foregoing, plaintiffs were deprived

 of their life and liberty, suffered specific and serious bodily

 injury, pain and suffering, loss of enjoyment of life, loss of a

 family member, psychological and emotional injury, great

 humiliation, costs and expenses, and were otherwise damaged and

 injured.




                                      63
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 64 of 69 PageID #: 70



                                 THIRD CLAIM

                  LIABILITY OF THE COUNTY OF NASSAU
                    FOR CONSTITUTIONAL VIOLATIONS

       273.   The plaintiffs incorporate by reference the

 allegations set forth in all preceding paragraphs as if fully set

 forth herein.

       274.   At all times material to this complaint, defendant THE

 COUNTY OF NASSAU, acting through its police department, and

 through the individual defendants had de facto policies,

 practices, customs and usages which were a direct and proximate

 cause of the unconstitutional conduct alleged herein.

       275.   At all times material to this complaint, defendant THE

 COUNTY OF NASSAU, acting through its police department, and

 through the individual defendants, had de facto policies,

 practices, customs, and usages of failing to properly train,

 screen, supervise, or discipline employees and police officers,

 and of failing to inform the individual defendants’ supervisors

 of their need to train, screen, supervise or discipline said

 defendants.     These policies, practices, customs, and usages were

 a direct and proximate cause of the unconstitutional conduct

 alleged herein.

       276. At all times material to this complaint, the defendant

 THE COUNTY OF NASSAU, acting through its police department and

 through the individual defendants, had de facto policies,


                                      64
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 65 of 69 PageID #: 71



 practices, customs and/or usages of unnecessarily provoking, and

 / or unnecessarily resorting to deadly force when dealing with

 hostage-takers, and of not having and / or using personnel

 specially trained in dealing with hostage scenarios when hostage

 scenarios arose.     Such policies, practices, customs and/or usages

 are a direct and proximate cause of the unconstitutional conduct

 alleged herein.

       277. At all times material to this complaint, the defendant

 THE COUNTY OF NASSAU, acting through its police department and

 through the individual defendants, had de facto policies,

 practices, customs and/or usages of failing to properly train

 police officers, 911 operators, and their supervisors, both

 generally and specifically with regard to hostage scenarios.

 Such policies, practices, customs and/or usages are a direct and

 proximate cause of the unconstitutional conduct alleged herein.

       278. At all times material to this complaint, the defendant

 THE COUNTY OF NASSAU, acting through its police department and

 through the individual defendants, had de facto policies,

 practices, customs and/or usages of failing to properly train its

 officers in the use and discharge of firearms, both generally and

 specifically in the context of hostage scenarios and/or in

 scenarios where innocent civilians are known to be present in the

 immediate area toward which guns are pointed and bullets

 discharged, and failed to properly investigate incidents of

                                      65
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 66 of 69 PageID #: 72



 police shootings and/or screen officers – such as Defendant

 BUDIMLIC – who have discharged their firearms on multiple

 occasions.    Such policies, practices, customs and/or usages are a

 direct and proximate cause of the unconstitutional conduct

 alleged herein.

       279. At all times material to this complaint, the defendant

 THE COUNTY OF NASSAU, acting through its police department and

 through the individual defendants, had de facto policies,

 practices, customs and/or usages of encouraging and/or tacitly

 sanctioning the cover-up of other law enforcement officers’

 misconduct, through, inter alia, in having deficient policies and

 / or policies missing from their department manual, through the

 fabrication of false accounts and evidence and/or through the

 spoliation of evidence and/or through conducting perfunctory,

 sham, whitewash investigations, particularly in the context of

 officer involved shootings, and/or through “the blue wall of

 silence.” Such policies, practices, customs and/or usages are a

 direct and proximate cause of the unconstitutional conduct

 alleged herein.     See, e.g., http://data.newsday.com/crime/nassau-

 police/ :

                  The [Nassau County Police] department confirmed
             Newsday’s findings in acknowledging that since at least
             2006 — as the number of officers shooting suspects rose
             sharply — Nassau’s deadly force investigators have
             never found that their officers were wrong when they
             felt the need to seriously injure or kill someone.
             Though the department spokesman, Insp. Kenneth Lack,
             said many uses of police deadly force are subject to an
                                   66
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 67 of 69 PageID #: 73



              additional, more thorough investigation by Nassau’s
              homicide squad, he confirmed that those detectives also
              had not found a use of deadly force unjustified.



       280. As   a   matter      of   COUNTY   policies   and    practices,   the

 individual Defendants herein failed to properly investigate this

 officer involved shooting, failed to properly investigate and

 document the crime scene, failed to preserve evidence, spoliated

 evidence, fabricated evidence, failed to follow the most basic

 tenets of crime scene integrity, failed to take the most basic

 steps in any investigation of an officer involved shooting crime

 scene investigation, pressured supervisors and investigators into

 only conducting a cursory investigation so as not to come to any

 conclusion that would contradict the deadly force response team’s

 findings that this was a justified shooting,             failed to do proper

 crime scene investigation in order to shield the Defendants from

 liability and deny the Plaintiffs fair access to the courts with

 material     evidence    that    normally     would   have     been   collected,

 gathered, preserved and recorded in an officer involved shooting
 where an innocent hostage was killed, in order to attempt to

 prevent the Plaintiffs from proving and establishing all the

 elements necessary to establish a constitutional violation by

 defendants herein.

       281.   Defendant THE COUNTY OF NASSAU authorized and tolerated

 as institutionalized practices, and ratified the misconduct detailed

 above, by failing to take adequate precautions in the supervision

 and/or   training   of   police      personnel,   including     the   individual
                                         67
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 68 of 69 PageID #: 74




 defendants herein.

       282.    The defendant COUNTY OF NASSAU’s policies/customs and

 failure to supervise and/or train its employees, including the

 individual    defendants    herein   rose      to    the   level    of   deliberate

 indifference to the consequences of its actions, and indifference to

 plaintiffs’    rights,     privileges    and    immunities     secured       by   the

 Constitution    of   the    United   States         of   America,    inter    alia,

 plaintiffs’ Fourth and Fourteenth Amendment rights.
      283. As a result of the foregoing, plaintiffs were deprived

 of their life and liberty, suffered specific and serious bodily

 injury, pain and suffering, loss of enjoyment of life, loss of a

 family member, psychological and emotional injury, great

 humiliation, costs and expenses, and were otherwise damaged and

 injured.




                                         68
Case 1:16-cv-02484-JMA-AKT Document 1 Filed 05/16/16 Page 69 of 69 PageID #: 75
